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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     Case No: 1:17-cv-60426-UU

   ALEKSEJ GUBAREV, et al.,

          Plaintiffs,
   v.

   BUZZFEED, INC., et al.,

         Defendants.
   _____________________________________/


                   DECLARATION OF NATHAN SIEGEL IN SUPPORT OF
               DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
                ON THE ISSUE OF PLAINTIFFS’ STATUS AS PUBLIC FIGURES


          I, Nathan Siegel, pursuant to 29 U.S.C. § 1746, hereby declare as follows:

          1.      I am a partner at the law firm of Davis Wright Tremaine LLP, counsel for

   Plaintiffs BuzzFeed, Inc. and Ben Smith in the above-captioned proceeding.

          2.      I make this declaration in order to annex exhibits relied upon in Defendants’

   Memorandum of Points and Authorities in support of their Motion for Summary Judgment;

          3.      Annexed hereto as Exhibit 1 is a true and correct copy of XBT’s Response to

   Interrogatories dated July 19, 2017.
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          32.     Annexed hereto as Exhibit 30 is a true and correct copy of a document produced

   by Plaintiffs in this litigation bearing the Bates stamp P-F000247.

          33.     Annexed hereto as Exhibit 31 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000266.

          34.     Annexed hereto as Exhibit 32 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000231.

          35.     Annexed hereto as Exhibit 33 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000258.

          36.     Annexed hereto as Exhibit 34 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000256.

          37.     Annexed hereto as Exhibit 35 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000013.

          38.     Annexed hereto as Exhibit 36 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000018.

          39.     Annexed hereto as Exhibit 37 is a true and correct copy of Exhibit 2 to the

   Deposition of Nikolay Dvas.




          41.     Annexed hereto as Exhibit 39 is a true and correct copy of Exhibit 4 to the

   Deposition of Nikolay Dvas.

          42.     Annexed hereto as Exhibit 40 is a true and correct copy of Exhibit 5 to the

   Deposition of Nikolay Dvas.




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           43.     Annexed hereto as Exhibit 41 is a true and correct copy of Exhibit 7 to the

   Deposition of Nikolay Dvas.

           44.     Annexed hereto as Exhibit 42 is a true and correct copy of Exhibit 13 to the

   Deposition of Nikolay Dvas).

           45.     Annexed hereto as Exhibit 43 is a true and correct copy of Exhibit 14 to the

   Deposition of Nikolay Dvas.

           46.     Annexed hereto as Exhibit 44 is a true and correct copy of Exhibit 15 to the

   Deposition of Nikolay Dvas.

           47.     Annexed hereto as Exhibit 45 is a true and correct copy of Exhibit 27 to the

   Deposition of Nikolay Dvas).

           48.     Annexed hereto as Exhibit 46 is a true and correct copy of Exhibit 28 to the

   Deposition of Nikolay Dvas.

           49.     Annexed hereto as Exhibit 47 is a true and correct copy of Exhibit R-5 from the

   April 30, 2018 Deposition of Aleksej Gubarev.

           50.     Annexed hereto as Exhibit 48 is a true and correct copy of document P-F000122,

   and a certified translation thereof..




           52.     Annexed hereto as Exhibit 50 is a true and correct copy of a September 1, 2015

   article by Shaun Walker for The Guardian, printed from the website available at

   https://www.theguardian.com/world/2015/sep/01/russia-internet-privacy-laws-control-web

           53.     Annexed hereto as Exhibit 51 is a true and correct copy of a July 4, 2014 article

   by Alexei Anishchuk for Reuters, printed from the website at https://www.reuters.com/article/us-




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   russia-internet-bill-restrictions/russia-passes-law-to-force-websites-onto-russian-servers-

   idUSKBN0F91SG20140704

          54.     Annexed hereto as Exhibit 52 is a true and correct copy of Exhibit R-7 from the

   April 30, 2018 Deposition of Aleksej Gubarev.

          55.     Annexed hereto as Exhibit 53 is a true and correct copy of Exhibit PR-24 from

   the April 30, 2018 Deposition of Aleksej Gubarev, along with a certified translation of the

   document.

          56.     Annexed hereto as Exhibit 54 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000270, along with a certified translation

   of the document.

          57.     Annexed hereto as Exhibit 55 is a true and correct copy of Exhibit PR-39 from

   the April 30, 2018 Deposition of Aleksej Gubarev, along with a certified translation of the

   document.

          58.     Annexed hereto as Exhibit 56 is a true and correct copy of Exhibit 16 to the

   Deposition of Nikolay Dvas.

          59.     Annexed hereto as Exhibit 57 is a true and correct copy of Exhibit PR-38 from

   the April 30, 2018 Deposition of Aleksej Gubarev, along with a certified translation of the

   document.

          60.     Annexed hereto as Exhibit 58 is a true and correct copy of a June 25, 2018 article

   by Adam Segal for the Council on Foreign Relations, printed from the website at

   https://www.cfr.org/blog/who-was-german-klimenko-and-what-does-his-dismissal-mean-

   russian-internet.




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          61.    Annexed hereto as Exhibit 59 is a true and correct copy of Exhibit 30 to the

   Deposition of Nikolay Dvas, along with a certified translation of the document.

          62.    Annexed hereto as Exhibit 60 is a true and correct copy of Exhibit 33 to the

   Deposition of Nikolay Dvas, along with a certified translation of the document.

          63.    Annexed hereto as Exhibit 61 is a true and correct copy of Exhibit 32 to the

   Deposition of Nikolay Dvas.

          64.    Annexed hereto as Exhibit 62 is a true and correct copy of Exhibit 34 to the

   Deposition of Nikolay Dvas.

          65.    Annexed hereto as Exhibit 63 is a true and correct copy of the page titled “About

   the Forum” on the publicly available website for the St. Petersburg International Economic

   Forum (SPIEF), printed from the website at https://forumspb.com/en/about/?lang=en.

          66.    Annexed hereto as Exhibit 64 is a true and correct copy of Exhibit 24 to the

   Deposition of Nikolay Dvas.

          67.    Annexed hereto as Exhibit 65 is a true and correct copy of Exhibit 31 to the

   Deposition of Nikolay Dvas.




          69.    Annexed hereto as Exhibit 67 is a true and correct copy of Exhibit 51 to the

   Deposition of Nikolay Dvas.

          70.    Annexed hereto as Exhibit 68 is a true and correct copy of Exhibit 52 to the

   Deposition of Nikolay Dvas.

          71.    Annexed hereto as Exhibit 69 is a true and correct copy of Exhibit 50 to the

   Deposition of Nikolay Dvas.




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          72.    Annexed hereto as Exhibit 70 is a true and correct copy of Exhibit PR 2 from the

   April 30, 2018 Deposition of Aleksej Gubarev.

          73.    Annexed hereto as Exhibit 71 is a true and correct copy of Exhibit PR 1from the

   April 30, 2018 Deposition of Aleksej Gubarev.

          74.    Annexed hereto as Exhibit 72 is a true and correct copy of Exhibit 45 to the

   Deposition of Nikolay Dvas.

          75.    Annexed hereto as Exhibit 73 is a true and correct copy of Exhibit 47 to the

   Deposition of Nikolay Dvas.

          76.    Annexed hereto as Exhibit 74 is a true and correct copy of Exhibit 46 to the

   Deposition of Nikolay Dvas.

          77.    Annexed hereto as Exhibit 75 is a true and correct copy of Exhibit 48 to the

   Deposition of Nikolay Dvas).

          78.    Annexed hereto as Exhibit 76 is a true and correct copy of Exhibit PR-83 from

   the April 30, 2018 Deposition of Aleksej Gubarev.

          79.    Annexed hereto as Exhibit 77 is a true and correct copy of Exhibit 53 to the

   Deposition of Nikolay Dvas.

          80.    Annexed hereto as Exhibit 78 is a true and correct copy of Exhibit 55 to the

   Deposition of Nikolay Dvas.

          81.    Annexed hereto as Exhibit 79 is a true and correct copy of Exhibit 56 to the

   Deposition of Nikolay Dvas.

          82.    Annexed hereto as Exhibit 80 is a true and correct copy of Exhibit 57 to the

   Deposition of Nikolay Dvas.




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           83.     Annexed hereto as Exhibit 81 is a true and correct copy of Exhibit PR-7 from the

    April 30, 2018 Deposition of Aleksej Gubarev.

           84.     Annexed hereto as Exhibit 82 is a true and correct copy of an E-mail from

    Alexey Gubarev to Modupeh Jahamaliah dated September 14, 2016 re: Interview with

    AppMaster/MyEmoji.com.

           85.     Annexed hereto as Exhibit 83 is a true and correct copy of the website page for

    the October 18, 2016 episode (Episode 485) of the AppMasters Podcast, titled “485: Biggest

    Lesson of Growing a Company with Aleksej Gubarev,” printed from the website at

    https://appmasters.com/servers-aleksej-gubarev, along with a CD containing a true and correct

    copy of the podcast audio downloaded from the website.

           86.     Annexed hereto as Exhibit 84 is a true and correct copy of the June 1, 2018

    Declaration of James W. McDermott on behalf of KGlobal, LLC, certifying records produced by

    KGlobal in this litigation.

           87.     Annexed hereto as Exhibit 85 is a true and correct copy of Exhibit 3 from the

    May 16, 2018 Deposition of Aleksej Gubarev.




           89.     Annexed hereto as Exhibit 87 is a true and correct copy of Exhibit 3 from the

    May 16, 2018 Deposition of Aleksej Gubarev.

           90.     Annexed hereto as Exhibit 88 is a true and correct copy of Shayefar Decl. Exhibit

    44 with certificate of accuracy translation.

           91.     Annexed hereto as Exhibit 89 is a true and correct copy of Exhibit 60 to the

    Deposition of Nikolay Dvas.




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           106.    Annexed hereto as Exhibit 104 is a true and correct copy of Exhibits 6A and 6B

    to the Deposition of Jochem Steman.




           111.    Annexed hereto as Exhibit 109 is a true and correct copy of document produced

    by Plaintiffs in this litigation bearing the Bates stamp P-P000150.

           112.    Annexed hereto as Exhibit 110 is a true and correct copy of document produced

    by Plaintiffs in this litigation bearing the Bates stamp P-P000191.

           113.    Annexed hereto as Exhibit 111 is a true and correct copy of document produced

    by Plaintiffs in this litigation bearing the Bates stamp P-P000157.




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           116.    Annexed hereto as Exhibit 114 is a true and correct copy of Exhibits 8A and 8B

    from the Deposition of Jochem.

           117.    Annexed hereto as Exhibit 115 is a true and correct copy of Exhibits 9A and 9B

    from the Deposition of Jochem Steman.

           118.    Annexed hereto as Exhibit 116 is a true and correct copy of Exhibit 12 from the

    Deposition of Jochem Steman.




           120.    Annexed hereto as Exhibit 118 is a true and correct copy of Exhibit 16 to the

    Deposition of Anthony Ferrante.

           121.    Annexed hereto as Exhibit 119 is a true and correct copy of a February 14, 2017

    article by Alan Cullison for the Wall Street Journal, printed from the website

    https://www.wsj.com/articles/russian-tech-entrepreneur-denies-link-to-donald-trump-hacking-

    report-1487096190.

           122.    Annexed hereto as Exhibit 120 is a true and correct copy of Exhibits 24A and

    24B from the Deposition of Jochem Steman.

           123.    Annexed hereto as Exhibit 121 is a true and correct copy of an August 6, 2007

    article by Michael Specter for the New Yorker, printed from the website

    https://www.newyorker.com/magazine/2007/08/06/damn-spam.




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           124.    Annexed hereto as Exhibit 122 is a true and correct copy of an August 26, 2009

    article by Ellen Messmer for Network World, printed from the website

    https://www.networkworld.com/article/2247722/wireless/trojan-attacks-up--phishing-attacks-

    down-this-year--ibm-finds.html.

           125.    Annexed hereto as Exhibit 123 is a true and correct copy of a June 20, 2017

    article by Andy Greenberg for Wired, printed from the website

    https://www.wired.com/story/russian-hackers-attack-ukraine.

           126.    Annexed hereto as Exhibit 124 is a true and correct copy of an April 8, 2015

    article by Evan Perez and Shimon Prokupecz for CNN, printed from the website

    https://edition.cnn.com/2015/04/07/politics/how-russians-hacked-the-wh/index.html.

           127.    Annexed hereto as Exhibit 125 is a true and correct copy of a March 10, 2015

    article by Evan Perez and Shimon Prokupecz for CNN, printed from the website

    https://www.cnn.com/2015/03/10/politics/state-department-hack-worst-ever/index.html.

           128.    Annexed hereto as Exhibit 126 is a true and correct copy of a June 14, 2016

    article by Ellen Nakashima for the Washington Post, printed from the website

    https://www.washingtonpost.com/world/national-security/russian-government-hackers-

    penetrated-dnc-stole-opposition-research-on-trump/2016/06/14/cf006cb4-316e-11e6-8ff7-

    7b6c1998b7a0 story.html.

           129.    Annexed hereto as Exhibit 127 is a true and correct copy of an October 7, 2016

    Joint Statement from the Department of Homeland Security and Office of the Director of

    National Intelligence on Election Security, printed from the website

    https://www.dhs.gov/news/2016/10/07/joint-statement-department-homeland-security-and-

    office-director-national.




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           135.   Annexed hereto as Exhibit 133 is a true and correct copy of relevant excerpts

    from the June 18, 2018 Deposition of Christopher Steele.




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           141.   Annexed hereto as Exhibit 139 is a true and correct copy of document produced

    by KGlobal, LLC in this litigation bearing the Bates stamp KGlobal003786.




           I declare under penalty of perjury that the foregoing is true and correct.

           Executed on September 21, 2018 in Washington, District of Columbia.




                                                         /s/ Nathan Siegel_____________
                                                         Nathan Siegel




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